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 7                           UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA
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10   UNITED STATES OF AMERICA,

11          Plaintiff,                                 Case No. 2:16-CR-0305-KJD-VCF

12   v.                                                ORDER

13   KAREEN ANDERSON,

14          Defendant.

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16          Presently before the Court is Defendant’s Motion to Dismiss Due to Due Process Violations

17   (#119). The Government filed a response in opposition (#122) to which Defendant replied (#127).

18   Also before the Court is Defendant’s Motion to Dismiss Count 2 (#120). The Government filed a

19   response in opposition (#123) to which Defendant replied (#129).

20          Defendant contends that he was arrested before an indictment was secured and a warrant

21   issued. Having examined the documents at issue, primarily Defendant’s warrant returned executed

22   (#19), the Court denies Defendant’s motion. The defects complained of by Defendant are not present.

23   Therefore, the rest of Defendant’s motion (#119) is moot.

24          Defendant’s motion to dismiss Count 2 is totally frivolous. Defendant is free to challenge the

25   evidence supporting Count 2 at trial. Defendant’s claim that he is not mentioned anywhere in Count

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 1   is patently untrue. In fact, his name is listed in bold type face in all caps. No grounds exist to dismiss

 2   Count 2.

 3          Accordingly, Defendant’s Motion to Dismiss Due to Due Process Violations (#119) is

 4   DENIED;

 5          IT IS FURTHER ORDERED that Defendant’s Motion to Dismiss Count 2 (#120) is

 6   DENIED.

 7          DATED this 25TH day of October 2017.

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                                                    Kent J. Dawson
11                                                  United States District Judge

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